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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                                             CASE NO.:



  HERENA SOUTO,
  and all others similarly situated
  under 29 U.S.C 206(B),

         Plaintiff,

  v.

  FLORIDA INTERNATIONAL UNIVERSITY,
  a Florida non-profit corporation,

         Defendants.
                                                _    /

                                            COMPLAINT

         Plaintiff, Herena Souto (“Souto”), sues Defendant, Florida International University

  (“FIU”) and alleges, as follows:

                                           Nature of Cause

        1.   This is an action by Plaintiff, on behalf of herself, and others similarly situated, under

  the provisions of the Fair Labor Standard Act (“FLSA”) of 1938, as amended, 29 U.S.C. § 216(b),

  for damages pursuant to the Fair Labor Standards Act, as amended 29 U.S.C. §201, et seq., and

  the Family and Medical Leave Act, to recover unpaid overtime wages, an additional equal amount

  as liquidated damages, obtain declaratory relief, and reasonable attorneys’ fees and costs; and to

  redress Defendant's unlawful employment practices and interference with Plaintiff’s, valid medical

  leave under the Family and Medical Leave Act of 1994, 29 U.S.C. § 2601 (“FMLA”).
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                                     Parties, Jurisdiction and Venue

          2.        FIU is a Florida non-profit corporation, authorized to conduct and conducting

  business in Miami-Dade County, Florida.

          3.        Souto is sui juris, a citizen of the United States, a resident of Miami-Dade County,

  Florida, and is otherwise subject to the jurisdiction of this Court.

          4.        This Court has subject matter jurisdiction over Plaintiffs’ federal law claims

  pursuant to 28 U.S.C. §§ 1331 and 1343(4), as Plaintiff’s claims seek redress for violations of

  Plaintiffs’ federal civil and statutory rights.

          5.        This Court has subject matter jurisdiction over Plaintiffs' state law claims pursuant

  to 28 U.S.C. §1367, as Plaintiff’s state law claims arise from the same set of operative facts as its

  federal claims.

          6.        This Court has personal jurisdiction over Defendant as FIU continuously and

  systematically does business within the state of Florida, employed the Plaintiff within the state of

  Florida, and additionally, all of the claims asserted herein arise out of conduct that occurred in the

  state of Florida.

          7.        Venue is proper in this Court as the cause of action accrued in and the parties are

  located within this judicial district.

                                            General Allegations

          8.        At all material times, Defendant FIU was Souto’s employer as defined by the

  FMLA and the FLSA.

          9.        Plaintiff is an experienced and skillful administrative professional.




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         I. Unpaid Overtime

         10.     Plaintiff worked for FIU, as a Coordinator of Foundation Board Relations

  (“Coordinator”), from approximately March 16, 2016, through May 21, 2018, for a total of two

  (2) years prior to her unlawful termination.

         11.     As a Coordinator, her duties included, coordinating board meetings and other

  administrative functions related to and in support of the Board of the FIU Foundation. As a part of

  her duties, Plaintiff was regularly required to work in excess of 40 hours per week.

         12.     Specifically, she was required to work overtime related to the Foundation’s Board

  meetings, both in planning and attending the meetings.

         13.     Plaintiff worked approximately 480 hours of uncompensated overtime during her

  employment at FIU.

         14.     As a result, Plaintiff suffered damages and is entitled to be compensated for her

  overtime hours at the federally required time and one half (1.5) of her regular rate.

         15.     FIU, at all material times is and was a covered employer as defined by Section 3(d)

  of the FLSA, 29 U.S.C. § 203(d).

         16.     FIU, at all material times is and was an institution providing higher education and

  is therefore an enterprise pursuant to the FLSA.

         17.     On August 31, 2018, Plaintiff sent to Employer, a written pre-suit demand

  regarding the FLSA violations, and requesting the payment to Plaintiff of said overtime, but

  Employer failed/refused to do so.




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         II.     FMLA Retaliation/Interference

         18.     On or about June 22, 2017, Plaintiff requested from her supervisor Christy Martinez

  (“Martinez”), Assistant Director of Foundation Board Relations at FIU, medical time off (FMLA

  leave) to undergo a medical procedure, specifically, a biopsy.

         19.     On or about June 29, 2017, Plaintiff learned that the biopsy results confirmed that

  she suffered from breast cancer, a qualifying serious health condition under FMLA, and

  immediately informed Martinez.

         20.     On or about July 18, 2017, Souto requested a sick day from Martinez. Although

  Martinez approved the request, she informed Souto that Souto’s paid one-week vacation scheduled

  to start on August 1, 2017, which was approved prior to Souto’s cancer diagnosis, was under

  reconsideration since Souto was likely going to request medical leave for cancer treatment.

         21.     On or about July 20, 2017, Souto requested medical (FMLA) leave to undergo

  surgery and additional medical treatment for cancer, a qualifying serious health condition under

  FMLA.

         22.     Souto’s FMLA request was validated by her doctor, confirmed and approved by

  FIU.

         23.     Souto was on valid and authorized FMLA medical leave from August 1, 2017

  through September 25, 2017.

         24.     On or about June 22, 2017, Ms. Souto requested time off from Ms. Martinez to

  receive medical treatment, specifically a biopsy.

         25.     On June 29, 2017, Ms. Souto received the biopsy results, which were positive for

  breast cancer. On that same day, Ms. Souto informed Ms. Martinez of her cancer diagnosis and




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  informed her that she would need to take some time off to attend multiple medical consultations

  related to her diagnosis.

         26.     On July 17, 2017, Ms. Martinez assigned Ms. Souto with an unreasonable list of

  tasks more than 2 pages long) to be completed prior to the start of her FMLA leave, despite

  knowing that Ms. Souto was scheduled to start her medical leave in approximately six (6) business

  days, anticipating that she would be unable to complete all of the assigned tasks.

         27.     On July 18, 2017, as anticipated and discussed with Ms. Martinez, Ms. Souto

  requested a day off for medical appointments. Ms. Martinez approved the request but informed

  Ms. Souto that her one-week paid vacation set to begin on July 31, 2017, which was approved

  prior to June 2017, would be reconsidered since she now needed to take an extended medical leave

  for her cancer treatment, an act of discrimination and retaliation against Ms. Souto due to her health

  condition and her need to take medical leave protected by FMLA.

         28.     On July 20, 2017, Ms. Souto formally applied for medical leave under FMLA with

  FIU’s Human Resources Department, which was approved by Ms. Martinez to begin on August

  1, 2017.

         29.     July 21, 2017, in retaliation for her valid medical leave, Ms. Martinez withdrew her

  approval of Ms. Souto’s one-week paid vacation, allowing her to take only two (2) days before her

  approved FMLA leave.

         30.     At some time after July 18, 2017, on or about July 25, 2017, approximately three

  (3) days prior to the beginning of Ms. Souto’s valid FMLA leave, Ms. Martinez demanded that

  Ms. Souto complete all tasks assigned to her in the list before her medical leave, and although the

  arbitrary deadline was insufficient to complete such copious amount of work within her regular

  work hours, Ms. Souto worked extended hours both at the office and from home to fulfill Ms.



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  Martinez’s unreasonable demands for fear of retaliation from Ms. Martinez. The additional stress

  of working extended hours to meet unreasonable demands of her job at a time when she was

  preparing for medical treatment caused Ms. Souto’s health to suffer, including but not limited to

  raising her blood pressure.

         31.     On August 1, 2017, Ms. Souto began her FMLA and on August 2, 2017, Ms. Souto

  had surgery. Also, as part of her medical treatment for breast cancer, Ms. Souto had to receive

  radiation treatment about four (4) to six (6) weeks after surgery, which she began on September

  28, 2017.

         32.     Pursuant to her doctor’s recommendations, Ms. Souto was released to return to

  work with certain medical restrictions and a reduced schedule. Although FIU approved her

  medical leave through September 27, 2017, Ms. Souto could not return to work until September

  25, 2017, since the FIU campus was closed due to Hurricane Irma.

         33.     On September 22, 2017, while still out on valid FMLA leave, Carolyn Jackson,

  Executive Director of Human Resources for University Advancement, emailed Ms. Souto

  requiring her to work “extended hours” immediately upon her return. Therefore, Ms. Souto

  immediately contacted central Human Resources regarding this communication from Ms. Jackson.

  As a result, Nathan Burandt, Benefits and Wellness Program Manager, immediately advised Ms.

  Jackson that Ms. Souto would require a reduced schedule based on her medical documentation.

         34.     Upon her return to work on September 25, 2017, FIU approved a flexible schedule

  under FMLA of twenty-five (25) hours per week until November 30, 2017 to accommodate Ms.

  Souto’s medical restrictions.    Throughout her approved FMLA flexible schedule, while

  undergoing radiation treatment, Ms. Souto performed her duties within the scope of her reduced

  schedule and her medical restrictions. Nonetheless, during this period, Ms. Martinez continuously



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  unlawfully harassed and interfered with Ms. Souto’s valid and authorized FMLA and

  discriminated and retaliated against Ms. Souto for taking such leave, by among other things, failing

  to accommodate her medical restrictions.

         35.     On September 28, 2017, when Ms. Souto attended her first radiation appointment,

  Ms. Martinez demanded that Ms. Souto provide her with medical certification as proof that she in

  fact attended a medical consultation and received medical treatment, even though Ms. Souto had

  already complied with all the medical certifications required for her valid FMLA flexible schedule.

         36.     On November 1, 2017, before the end of the valid FMLA flexible schedule, Ms.

  Martinez met with Ms. Souto to complain that Ms. Souto was not fulfilling all the demands of her

  official job description, failing/refusing to consider the valid FMLA accommodations (which had

  been approved) and were necessary to accommodate Ms. Souto’s health condition. Instead, she

  expected for Ms. Souto to perform her job description at full capacity without any regard to the

  authorized accommodations under the FMLA reduced schedule.

         37.     Due to some medical complications and side effects of the radiation treatment, Ms.

  Souto required an extension of her FMLA flexible schedule, which FIU later approved until

  December 14, 2017. However, at the end of this FMLA period, Ms. Souto continued to have

  medical restrictions and continued to need a reduced schedule, so FIU requested that Ms. Souto

  file for intermittent leave under FMLA. On or about December 13, 2017, FIU approved Ms.

  Souto’s intermittent leave until June 30, 2018. During this period, Ms. Martinez continued to

  discriminate and interfere with Ms. Souto’s FMLA.

         38.     On December 13, 2017, prior to the expiration of Ms. Souto’s approved FMLA

  flexible schedule and on the same day that Ms. Souto’s FMLA intermittent leave was approved,




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  Ms. Martinez met with Ms. Souto to reiterate Ms. Souto’s failure to perform up to the expectations

  of her job description in disregard of her continued medical restrictions and intermittent leave.

         39.     On January 12, 2018, in anticipation of board meetings scheduled for January 26 –

  27, 2018, Ms. Martinez asked Ms. Souto to discuss with her physicians the possibility of lifting

  her medical restrictions and obtaining clearance to work additional hours, in order to meet the

  needs of the upcoming events, and requested that Ms. Souto work on a Saturday to meet the

  demands of her position. Ms. Souto was confused and afraid to lose her job but also wanted to

  comply with her medical restrictions pursuant to her valid FMLA intermittent leave. Therefore,

  she again called central HR, and they advised her to contact the office of EOPD. When contacted

  by the EOPD, Ms. Souto complained to Shirlyon McWhorter, Director of EOPD, regarding her

  Supervisor’s, Ms. Martinez, continued interference with her valid FMLA intermittent leave.

         40.     On February 7, 2018, Ms. Martinez continued her pattern of retaliation, harassment

  and unjustified interference with Ms. Souto’s valid FMLA schedule, by placing her on a

  Performance Action Plan for failure to meet the requirements of her position (despite Ms. Souto’s

  valid FMLA reduced schedule due to her medical restrictions).

         41.     On May 21, 2018, while still under valid FMLA leave, Ms. Martinez unlawfully

  and wrongfully terminated Ms. Souto from her employment at FIU in violation of the both state

  and federal laws.

         42.     All conditions precedent to the filing of this action have occurred, been waived, or

  otherwise been satisfied.

                              COUNT I – INTEFERENCE UNDER FMLA

         43.      Plaintiff re-alleges and incorporates paragraphs one (1) through (42) above.




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         44.     This is an action for declaratory, injunctive and equitable relief, as well as monetary

  damages, to redress Defendant's unlawful employment practices and interference with Plaintiff’s,

  valid medical leave under the Family and Medical Leave Act of 1994, 29 U.S.C. § 2601

  (“FMLA”).

         45.     Defendant is an employer as defined by the FMLA, 29 U.S.C. § 2611(4).

         46.     Plaintiff was an employee as defined by the FMLA and entitled to benefits therein.

  29 U.S.C. § 2611(2).

         47.     Defendant unlawfully prevented her from obtaining those benefits.

         48.     Defendant interfered with Plaintiff’s FMLA benefits by providing her with

  tasks/assignments which it knew were impossible to meet prior to the start of her valid FMLA

  leave, effectively denying Plaintiff her right to said benefits.

         49.     As a direct and proximate cause of result of Defendant’s actions, Plaintiff has been

  damaged and is entitled to be compensated for her losses.

                            COUNT II – DISCRIMINATION/RETALIATION
                                  IN VIOLATION OF THE FMLA

         50.     Plaintiff re-alleges and incorporates paragraphs one (1) through (42) above.

         51.     This is an action against Defendant for discrimination/retaliation in violation of the

  Family and Medical Leave Act (“FMLA”).

         52.     Defendant is an “employer” as defined by the FMLA, 29 U.S.C. § 2611(4).

         53.     Plaintiff is an “eligible employee” as defined in the FMLA, 29 U.S.C. § 2611(2).

         54.     Plaintiff invoked her right to FMLA benefits.

         55.     As a result of his lawful request for FMLA benefits, Plaintiff was unlawfully

  terminated by Defendants.




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          56.     As a result of Defendants unlawful discrimination/retaliation, Plaintiff has incurred,

   and is now incurring, a loss of wages within the meaning of the FMLA, 29 U.S.C. § 2617(a) for

   which he is entitled to be compensated.

          COUNT III—VIOLATIONS OF FLSA OVERTIME PROVISIONS

          57.     Plaintiff realleges paragraphs one (1) through (42) above

          58.     This is an action against FIU for overtime compensation pursuant to 29 U.S.C.

   § 216(B).

          59.     Upon information and belief, FIU has employed and currently employs several

   other similarly situated employees, like Plaintiff, who have not been paid overtime for work

   performed in excess of forty (40) hours weekly, within three (3) years from the filing of this

   Complaint.

          60.     Plaintiff routinely worked in excess of forty (40) hours per week for FIU.

          61.     Specifically, Plaintiff estimates she worked for FIU approximately six hundred

   ninety (690) hours of overtime during the relevant time period for which she was not compensated.

          62.     Plaintiff was a non-exempt employee, entitled to be paid at the rate of one and one-

          half for all hours worked in excess of forty (40) hours per week. Notwithstanding, FIU

   failed and/or refused to compensate Plaintiff for such work in excess of forty (40) hours at rates

   no less than one and one-half times the regular rates, for which she was employed, contrary to the

   provisions of 29 U.S.C. § 207(a).

          63.     FIU knew or should have known that Plaintiff suffered or was permitted to

   work overtime for FIU as defined in 29 U.S.C. § 203(g).

         64.      At all material times, FIU knew or should have known that such refusal and/or

   failure is prohibited by the FLSA.



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           65.     Notwithstanding, FIU intentionally and willfully violated the FLSA, as cited

   herein.

           66.     At all material times, FIU failed/refused to maintain proper time records as

   mandated by the FLSA regarding the overtime hours worked by Plaintiff.

           67.     Further, FIU failed/refused to post, as required by the FLSA and federal law to

   inform its employees of their federal rights to overtime and/or minimum wages.

           68.     As a result, Plaintiff has been damaged and is entitled to be compensated for her

   loss.

                                     DEMAND FOR JURY TRIAL
           69.     Plaintiff demands a trial by jury on all issues so triable.

                                             PRAYER FOR RELIEF

                   WHEREFORE, Plaintiff, Herena Souto, respectfully requests that judgment be

       entered in her favor against Defendant, Florida International University, as follows:

             (a)   Declaring pursuant to 29 U.S.C. § 206(a), 28 U.S.C §2201 and §2202, that the acts

       and practices of the Defendant complained of herein are in violation of the overtime wages

       provisions of the FLSA;

             (b)   Permanently enjoining the Defendants, their agents, officers and employees from

       engaging in all practices found by this court to be in violation of the minimum and overtime

       wages provisions of the FLSA;

             (c)   Awarding Plaintiff damages against Defendants, for lost and withheld

       compensation, minimum wages, and overtime wages compensation for all hours that he

       worked for Defendants over forty (40) hours per week, but for which she was not compensated

       at the required minimum and overtime rate;

             (d)   Awarding Plaintiff liquidated damages;

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          (e)    Awarding Plaintiff reasonable attorney’s fees, costs, interest, and expenses of this

      litigation pursuant to 29 U.S.C. §216(b);

      (f) awarding to Plaintiff legal and equitable relief including, but not limited to, reinstatement,

          enjoining Defendant from further retaliation, payment of lost and withheld compensation,

          back-pay, front pay, compensatory damages, and additional amounts such as liquidated

          damages, interest, and reasonable attorneys’ fees, and granting such other and further relief

          as the Court deems just and proper.

          (g)    Ordering any other further relief that this Court may deem just and proper.

   Respectfully submitted this 14th day of May 2019.



                                                        By: /s/ Monica Espino
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